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                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

              Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
              Defendant,

   v.                                      Leave to File Granted on August 6, 2020
OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

             Defendant and Counterclaim
             Plaintiff.


 NUANCE COMMUNICATIONS, INC.’S SUR-REPLY TO DEFENDANT’S MOTION
    TO DISMISS COUNTS IX-XIII OF THE FIRST AMENDED COMPLAINT
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I.      INTRODUCTION

        For the reasons set forth below, none of Omilia’s arguments in its Reply alter the

conclusion that its Motion to Dismiss should be denied in its entirety.

II.     ARGUMENT

        A.    The Discovery Rule Applies to Nuance’s Claims, Including its Copyright
              Claim

        In its Motion to Dismiss, Omilia argued that the mere fact that information about Omilia’s

unlawful downloads existed somewhere in a Nuance logfile made Nuance chargeable with

“knowledge” of that information as of the date of Omilia’s downloads. Mot. at 3. Nuance

demonstrated that argument is legally erroneous, citing to VBConversions, LLC v. Exida LLC, No.

CV13-8306-PSG (JEMx), 2014 WL 12561086 (C.D. Cal. July 17, 2014) and Warren Freedenfeld.

Assocs., Inc. v. McTigue, 531 F.3d 38 (1st Cir. 2008). See Opp. at 5-8; see also Portfolioscope,

Inc. v. I-Flex Sols. Ltd., 473 F. Supp. 2d 252, 254 n.5 (D. Mass. 2007) (refusing to dismiss and

applying the discovery rule where “discovery could show that Plaintiff in fact could not determine

the nature of the allegedly infringing product until 2003” because “[g]ranting a motion to dismiss

on a statute of limitations defense is appropriate when there is no set of facts which, if proven,

could prevent the claim from being time-barred.” (emphasis added)).

        In its Reply, Omilia has retreated from that position (other than a single sentence merely

repeating its conclusory assertion), and now argues mainly that Nuance’s acknowledged then-

suspicion that Omilia was mishandling licenses during its time as a Nuance reseller constitutes

inquiry notice that after termination of the reseller agreement, Omilia illegally downloaded

hundreds of Nuance files, including language packs for languages that had never been part of

Omilia’s reseller agreement with Nuance. In essence, Omilia’s defense is tantamount to “you

suspected we were doing some bad things, so you should have been on notice that we were doing

a lot of other bad things too.” See Reply at 3 (“Nor has Nuance pleaded how the information in

the logfiles might have been concealed or difficult to learn, especially where Nuance had reason

to investigate further – i.e., the existence of a dispute between the parties that led to termination of


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the 2011 agreement”). This is not the standard for inquiry notice under the discovery rule. See

Monsarrat v. Zaiger, 303 F. Supp. 3d 164, 166 (D. Mass. 2018) (“The discovery rule for copyright

infringement cases in the First Circuit is expressly tied to discovery of the ‘conduct’ in question.”).

       Nor does Omilia’s approach follow Rule 12(b)(6)’s requirement that all reasonable

inferences be drawn in the non-moving party’s (i.e., Nuance’s) favor. Ruiz v. Bally Total Fitness

Holding Corp., 496 F.3d 1, 5 (1st Cir. 2007). Applicability of the discovery rule is not one of the

few categories subject to Rule 9’s heightened pleading standard. Fed. R. Civ. P. 9(b) (requiring
particularity only “[i]n alleging fraud or mistake”). Therefore, all that is required is notice pleading

under Rule 8.

       Credited with all permissible inferences in its favor, Nuance’s First Amended Complaint

alleges facts sufficient to support the application of the discovery rule, and Omilia’s motion should

be denied.

       Alternatively, although Nuance does not concede that any additional detail on these points

is necessary to state a claim, Omilia itself has provided a road map to additional allegations that

could be included in a further amended complaint to address its concerns. According to Omilia,

more detailed factual allegations could include, for example:

                “[F]acts showing why [Nuance] could not have learned of the unauthorized

                 download from the download log files in its possession.” Reply at 3.

                “[H]ow information in the logfiles might have been concealed or difficult to learn”

                 Id.

                Why Nuance did not have “reason to investigate further” concerning Omilia’s

                 unlawful post-termination downloads. Id.

                Why the November 15 letter from Dimitris Vassos (improperly offered as extrinsic

                 evidence to Omilia’s motion to dismiss) was unrelated to Nuance’s claims in the
                 First Amended Complaint. See Reply at 9.

       Moreover, the reasonableness and scope of Nuance’s investigation at the time should not

be governed by impermissible hindsight analysis – now that Nuance has uncovered the evidence


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of Omilia’s downloads and brought them into the light of day, it may be hard to imagine that such

widespread, egregious misconduct lay undiscovered in a logfile. Such hindsight is not the proper

inquiry. See TCS John Huxley Am., Inc. v. Sci. Games Corp., No. 19 C 1846, 2020 WL 1678258,

at *5 (N.D. Ill. Mar. 20, 2020) (holding that a set of facts “which would only seem prescient

in hindsight, [] may not have triggered the running of the statute of limitations.”).

       Accordingly, if Omilia’s motion to dismiss is not denied outright, then in the alternative,

Nuance should be given leave to amend.

       B.    Summary Judgment Is Inappropriate and Premature

       Next, Omilia argues that summary judgment should be granted but that the Rule 56(a)

standard for granting summary judgment, including the requirement that all factual inferences be

drawn in favor of the nonmoving party, doesn’t matter. Reply at 4.

       Omilia’s entire extrinsic submission relates to the license-reporting dispute acknowledged

in both Nuance’s original Complaint and its First Amended Complaint. That purported evidence

is silent on the issue of Omilia’s illegal downloads. To the extent it is even appropriate to consider

such materials at this stage, there is clearly a dispute about the scope of any “notice” in 2015.

Under the applicable Rule 56(a) standard (which Omilia dismisses as “beside the point”), all

inferences must be drawn in Nuance’s favor. Omilia relies on Zamoyski v. Fifty-Six Hope Rd.
Music Ltd., Inc., 718 F. Supp. 2d 128 (D. Mass. 2010) in support of its argument that “summary

judgment is warranted” because “Nuance has not demonstrated that a genuine issue of fact exists.”

Reply at 4-5. But Omilia’s reliance here confuses the summary judgment legal standard described

in Zamoyski. Even Omilia’s cited passage from Zamoyski explains, “[t]he non-moving party bears

the burden of placing at least one material fact into dispute after the moving party shows the

absence of any disputed material fact.” Reply at 5 (quoting Zamoyski, 718 F. Supp. 2d at 130

(emphasis added)). As explained above, Omilia has failed to show the absence of a disputed

material fact, so the burden remains with Omilia to first show that “there is no genuine issue as to

any material fact.” Zamoyski, 718 F. Supp. 2d at 130 (citing Fed. R. Civ. P. 56(c)). In the absence



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of extrinsic evidence from Omilia that specifically relates to its illegal downloads, summary

judgment on this issue is inappropriate and premature.

       C.    Nuance States a Claim Under the DMCA

       Tellingly, in its Reply, Omilia neither responds to Nuance’s arguments regarding the

statutory language nor addresses in any fashion the cases Nuance cited as holding that

unauthorized use of passwords is a violation of § 1201(a). Instead, Omilia mischaracterizes

Nuance’s argument as suggesting that “any use of a password to access a technological system

constitutes circumvention for purposes of § 1201, even where the password is intended to facilitate

access.” Reply at 5. In actuality, Nuance asserts that Omilia’s use of a password without

permission is circumvention prohibited by § 1201(a)(1)(A) of the DMCA. The DMCA explicitly

defines circumvention as occurring “without the authority of the copyright owner.” 17 U.S.C. §

1201(a)(3)(A). As a result, by definition, actions taken with permission are not circumvention,

including the use of an authorized password. Nuance has never suggested otherwise.

       Indeed, Omilia’s argument reveals its fundamental misunderstanding of the role of

permission in the DMCA. Omilia attempts to exclude from the definition of “circumvention”

actions for which the copyright owner as part of its normal business sometimes gives permission,

such as a password. However, by defining “circumvention” as an action taken “without …
authority” the DMCA protects a copyright owner’s efforts both (1) to implement “technological

measures” that prevent access to a copyrighted work and (2) to selectively disable those

technological measures with permission. For example, the technological measures described in

Universal City Studios, Inc. v. Reimerdes could be avoided with permission by lawful DVD

players, while decryption of DVD players without authority was circumvention. 111 F. Supp. 2d

294, 317 (S.D.N.Y. 2000). Under Omilia’s view, the DMCA would only apply to actions for

which the copyright owner never gives permission, excluding from the DCMA technology like

DVD players and effectively reading the language “without authority” out of the definition of

“circumvention.” The Court should reject such an attempt to treat the language of the DMCA as



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“surplusage.” Nat’l Ass’n of Mfrs. v. Dep’t of Defense, 138 S. Ct. 617, 632 (2018) (“As this Court

has noted time and time again, the Court is obliged to give effect, if possible, to every word

Congress used.”).

       D.    Nuance States a Claim Under the CFAA

       Omilia tries to distinguish the many cases finding a CFAA claim to exist (under the narrow

interpretation of the statute) when a former employee uses login credentials after termination of

employment, arguing merely that the Nuance-Omilia relationship “was not an employer-employee

relationship.” Reply at 6. This cramped effort to distinguish the cases misses the point. These

many former-employee cases (see Opp. at 15) establish that a CFAA claim exists for continued

use of login credentials after the expiration of the relationship under which those credentials were

issued. In that sense, use of those credentials post-termination is “without authorization.” The

fact that Omilia was a contractual reseller of Nuance products, rather than a Nuance employee, is

not a distinction with a difference. These cases are fully applicable. Omilia also cites Facebook,

Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016), purportedly for the proposition

that the “without authorization” prong applies to revoked or expired credentials only when

permission has been “revoked explicitly.” Reply at 6. But even Facebook makes clear that all

that is required is that the defendant be “on notice that it is no longer authorized to access” the
plaintiff’s computers.   Id. n.3.   Even under this standard, termination of the 2011 Partner

Agreement (FAC ¶ 30) placed Omilia on notice that it was no longer authorized to access Nuance’s

servers or to download Nuance products. Omilia does not argue otherwise.

       Thus, as Nuance argued in its Opposition, Omilia’s conduct is actionable under the CFAA

under either the narrow or broad interpretations of the statute. See Opp. at 15 (citing MOCA Sys.,

Inc. v. Bernier, No. CIV.A. 13-10738-LTS, 2013 WL 6017295, *3 (D. Mass. Nov. 12, 2013)).

       E.    Nuance’s State Law Claims Are Not Preempted

       Omilia argues that eBay, Inc. v. Bidder’s Edge, Inc., 100 F. Supp. 2d 1058, 1069 (N.D.

Cal. 2000), the seminal case applying the ancient tort of trespass to chattels to computer intrusions,


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is distinguishable because (a) it is based on California common law rather than Massachusetts

common law, and (b) Omilia committed fewer break-ins to Nuance’s servers than was at issue in

eBay. Neither argument is persuasive.

       Concerning trespass to chattels, Omilia cites no authorities—either in its opening or reply

briefs—that identify the elements of a claim for trespass to chattels. eBay provides a simple

statement of those elements: “(1) defendant intentionally and without authorization interfered with

plaintiff’s possessory interest in the computer system; and (2) defendant’s unauthorized use
proximately resulted in damage to plaintiff.” Id. at 1069-1070. Omilia does not argue that

Massachusetts common law is any different; the copyright-trespass to chattels cases Omilia does

cite are from the Fourth Circuit (finding only as to conversion) and Northern District of Illinois

(reaching holding without analysis). See Mot. at 19; Opp. at 17 n.13. As the eBay court found,

trespass to chattels does include extra elements and is not preempted by the Copyright Act: the

“chattel” is the server or computer network, and the “trespass” is the unauthorized intrusion into

that server or network. Nuance has been injured thereby. It does not matter whether the trespass

occurred “only” hundreds of times, as with Omilia’s misconduct, or hundreds of thousands of

times, as was the case in eBay.

       Regarding conversion, Omilia’s arguments similarly fail. First, in trying to distinguish

Glass Egg Digital Media v. Gameloft, Inc., No. 17-CV-04165-MMC, 2018 WL 3659259, at *6

(N.D. Cal. Aug. 2, 2018), Omilia gamely tries to shoehorn its CFAA argument (that it did not

“exceed authorized access”) into the extra element of unauthorized access. Reply at 7. This is all

a clumsy attempt at sleight-of-hand, intended to conceal the fact that after termination of the 2011

Partner Agreement, Omilia lacked permission to keep downloading Nuance’s software. These

downloads were undertaken without permission. Further, Omilia completely ignores Nuance’s

argument and cited authorities that, to the extent the materials downloaded include (or are later
argued by Omilia to include) non-copyrighted material owned by Nuance, the claim for conversion

covers a subject matter different from Nuance’s copyright infringement claim. See Opp. at 18.




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        F.    Nuance’s Prayer for Statutory Damages and Attorneys’ Fees is Appropriate

        Omilia separately seeks to dismiss, under Rule 12(b)(6), several items in Nuance’s prayer

for relief that relate to a claim for copyright infringement. Omilia cites no authority for the

proposition that items in a prayer for relief are properly the subject of a Rule 12(b)(6) motion – the

prayer for relief, on its own, does not purport to state a claim for relief. Omilia’s only fallback is

to suggest that, although Nuance has asserted a claim for copyright infringement, it has not alleged

specific facts in that claim relating to circumstances under which statutory damages and attorneys

would be recoverable. Or perhaps Omilia’s argument is that Nuance should have inserted a

separate count for each different theory of copyright infringement. Neither approach is required

under Rule 8’s notice pleading standards. Fed. R. Civ. P. 8(a). In any event, it would not be

appropriate to “dismiss” items from a prayer for relief under Rule 12(b)(6). See Backman v.

Smirnov, No. CIV.A. 08-11148-RGS, 2008 WL 4874949, at *3 (D. Mass. Nov. 12, 2008) (holding

that a prayer for relief “will be addressed in the context of the ultimate disposition of the case,

rather than prematurely on a motion to dismiss.”).

        G.    Alternatively, Nuance Should Be Granted Leave to Amend

        Finally, even as it tries to “spin” and reinterpret the FAC’s allegations, and even as it argues

that additional, detailed, facts are missing from the FAC’s allegations, Omilia argues for dismissal
with prejudice on the ground of futility. But on this record, finding futility would be an extreme
result, contrary to Rule 15’s mandate that leave to amend should be freely granted. See Foman v.

Davis, 371 U.S. 178, 182 (1962) (“If the underlying facts or circumstances relied upon by a

plaintiff may be a proper subject of relief, [it] ought to be afforded an opportunity to test [its] claim

on the merits.” (emphasis added)); see also President and Fellows of Harvard Coll. v. Micron

Tech., Inc., 230 F. Supp. 3d 46, 47 (D. Mass. 2017) (granting leave to amend complaint following

grant of motion to dismiss);1 Boston Int'l Music, Inc. v. Austin, No. CIV.A. 02-12148-GAO, 2003


1
 When it granted Micron’s motion to dismiss, the court granted Harvard 30 days leave to file an
amended complaint. President and Fellows of Harvard Coll. v. Micron Tech., Inc., No. 16-cv-
11249-WGY, Dkt. No. 31 at p. 8 (D. Mass. Oct. 13, 2016) (transcript of motion to dismiss


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WL 22119228, at *2 (D. Mass. Sept. 12, 2003) (after dismissal of complaint, “plaintiffs should

be granted leave to amend the complaint to allege facts which may demonstrate that they have

standing to assert their claim of copyright infringement”).

III.     CONCLUSION

         For these reasons set forth above and in Nuance’s memorandum in opposition to Omilia’s

Motion to Dismiss Counts IX-XIII of the First Amended Complaint, Omilia’s motion to dismiss

should be denied. Alternatively, any dismissal should be without prejudice and with leave to

amend.

                            REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1 (d), Nuance believes that oral argument may assist the Court

and requests oral argument of this motion.

Date: August 5, 2020                  Respectfully submitted,


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hearing) (“Their motion to dismiss is going to be allowed with leave to Harvard, within 30 days,
to file a motion for leave to file an amended complaint.”).


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                                CERTIFICATE OF SERVICE

       I hereby certify that this document will be filed through the ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on August 6, 2020.

                                              /s/ Christian E. Mammen
                                              Christian E. Mammen




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